Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 1 of 31




                                Page 1 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 2 of 31




                                Page 2 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 3 of 31




                                Page 3 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 4 of 31




                                Page 4 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 5 of 31




                                 Page 5 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 6 of 31




                                Page 6 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 7 of 31




                                Page 7 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 8 of 31




                               Page 8 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 9 of 31




                               Page 9 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 10 of 31




                                Page 10 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 11 of 31




                                Page 11 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 12 of 31




                                 Page 12 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 13 of 31




                                 Page 13 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 14 of 31




                                Page 14 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 15 of 31




                              Page 15 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 16 of 31




                              Page 16 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 17 of 31




                               Page 17 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 18 of 31




                                Page 18 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 19 of 31




                               Page 19 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 20 of 31




                                  Page 20 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 21 of 31




                                   Page 21 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 22 of 31




                               Page 22 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 23 of 31




                               Page 23 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 24 of 31




                                Page 24 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 25 of 31




                                Page 25 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 26 of 31




                               Page 26 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 27 of 31




                                Page 27 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 28 of 31




                                Page 28 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 29 of 31




                                Page 29 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 30 of 31




                                Page 30 of 31
Case 2:18-bk-17029-BB   Doc 373 Filed 08/19/19 Entered 08/19/19 18:07:10   Desc
                         Main Document    Page 31 of 31




                           Page 31 of 31
